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 10
 11                         UNITED STATES DISTRICT COURT
 12                        CENTRAL DISTRICT OF CALIFORNIA
 13
 14    MOSSACK FONSECA AND CO., S.A., )             Case No. 2:19-cv-09930-CBM-AS
       et al.,                        )
 15                                   )
                                      )             DEFENDANT NETFLIX INC.’S
 16                Plaintiffs,        )             NOTICE OF MOTION AND
                                      )             MOTION FOR JUDGMENT ON
 17            vs.                    )             THE PLEADINGS
                                      )
 18                                   )             [Notice of Lodging of Physical Exhibits
                                      )             filed concurrently]
       NETFLIX, INC.,
 19                                   )             Hearing:
                                      )             Date: July 28, 2020
 20                Defendant.         )             Time: 10:00 a.m.
                                      )             Place: Courtroom 8B
 21                                   )
                                      )
 22                                   )
                                      )
 23                                   )
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   1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2          PLEASE TAKE NOTICE that on July 28, 2020 at 10:00 a.m., or as soon
   3   thereafter as the matter may be heard before the Honorable Consuelo B. Marshall of
   4   the above-entitled Court, located at 350 West First Street, Los Angeles, California,
   5   90012, Courtroom 8B, Defendant Netflix, Inc. (“Netflix” or “Defendant”) will, and
   6   hereby does, move for judgment on the pleadings pursuant to FRCP 12(c) (the
   7   “Motion”) on the federal law claims stated against Netflix in the January 21, 2020
   8   Second Amended Complaint (the “SAC”) [Docket No. 52] of Plaintiffs Mossack
   9   Fonseca & Co., S.A., Bufete MF & Co., Jurgen Mossack, and Ramon Fonseca
 10    (“Plaintiffs”).
 11           The Motion is made on the grounds that: (1) the fourth and fifth causes of
 12    action asserted against Netflix in the SAC—for “Dilution/Tarnishment under 15
 13    U.S.C. [§] 1125(c)” and “False Advertising [under] 15 U.S.C. § 1125”—are barred by
 14    the First Amendment; and (2) Plaintiffs cannot establish a probability of prevailing on
 15    the merits of their claims. In addition, Netflix requests that they recover from
 16    Plaintiffs their attorneys’ fees and costs incurred in making this Motion pursuant to 15
 17    U.S.C. § 1117.1
 18           This Motion is based upon this Notice of Motion and Motion, the
 19    accompanying Memorandum of Points and Authorities, the accompanying Notice of
 20    Lodging of Physical Exhibits, the pleadings and papers on file herein, all other matters
 21    of which the Court may take judicial notice, and such other or further material as may
 22    be presented at or before the hearing on the Motion.
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 27    1
        If the Court grants this Motion, Netflix will prove the amount of their attorneys’ fees and costs
 28    separately.
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   1         This Motion is made following several conferences of counsel pursuant to
   2   Local Rule 7-3 which took place beginning on February 10, 2020 and concluded on
   3   March 11, 2020.
   4
                                         PRYOR CASHMAN LLP
   5
   6
   7   Dated: June 17, 2020        By:   /s/ Michael J. Niborski
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   1                   MEMORANDUM OF POINTS AND AUTHORITIES
   2          Defendant Netflix, Inc. (“Netflix” or “Defendant”) respectfully submits this
   3   memorandum of law in support of its motion for judgment on the pleadings pursuant
   4   to Federal Rule of Civil Procedure 12(c) dismissing Plaintiffs’ fourth and fifth claims,
   5   for trademark dilution and false advertising under the Lanham Act, respectively, with
   6   prejudice.
   7   I.     INTRODUCTION
   8          This action concerns the film entitled The Laundromat (the “Film”).2 As
   9   described in detail below, the Film concerns the so-called “Panama Papers,” a cache
 10    of documents concerning hundreds of thousands of offshore entities created by
 11    Plaintiffs Jurgen Mossack (“Mossack”) and Ramon Fonseca (“Fonseca”) and their law
 12    firm, Mossack Fonseca and Co. S.A. (the “Mossack & Fonseca Firm,” and together
 13    with Mossack and Fonseca, “Plaintiffs”), in order to facilitate tax avoidance on the
 14    part of the wealthy. Beyond mere tax avoidance, several thousand of these offshore
 15    entities were also implicated by Europol for alleged involvement with other kinds of
 16    criminal conduct, including money laundering, tax evasion, bribery, and fraud, as
 17    Plaintiffs themselves acknowledge.
 18           The Film seeks to expose the pervasive abuse of offshore shell corporations and
 19    tax shelters, and it is an indictment of the legal systems that permit them. Plaintiffs,
 20    whose livelihoods depend on the flourishing of the offshore industry, unsurprisingly
 21    dislike the Film’s message, and they seek to misuse the trademark laws, among others,
 22    in order to silence it.
 23           In addition to their state law libel and false light claims, which are addressed in
 24    Netflix’s concurrently-filed anti-SLAPP motion, Plaintiffs assert claims for trademark
 25    dilution by blurring and by tarnishment, as well as false advertising based on the
 26    allegation that consumers will mistakenly believe that Plaintiffs sponsored or
 27    2
        The Film was submitted as Exhibit A to the Answer of Defendant Netflix, Inc. to Plaintiffs’ Second
 28    Amended Complaint [Docket No. 53]. A copy of the Film is also attached to the Notice of Lodging of
       Physical Exhibits filed concurrently herewith.

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   1   endorsed the Film. These claims fail as a matter of law. Plaintiffs’ dilution claim is
   2   hopeless. Not only have Plaintiffs failed to plead sufficiently an essential element of
   3   their dilution claim – namely, the fame of their allegedly diluted mark – but also the
   4   Film does not use the Plaintiffs’ logo as a mark, as it must for the use to be actionable
   5   under the federal dilution law. Furthermore, given Plaintiffs’ admissions that, before
   6   the Film was published, they (i) were already the subject of legal proceedings in
   7   Panama, (ii) could no longer bank anywhere, (iii) had lost all of their clients, and
   8   (iv) had to shut down their business as a result of the foregoing, their claim that the
   9   Film tarnished their mark is risible. Likewise, given Plaintiffs’ complaint that the Film
 10    tarnished their brand due to its unflattering portrayal of them, their false advertising
 11    claim – premised on the allegation that consumers will assume Plaintiffs sponsored or
 12    endorsed the Film – hardly rises to the level of plausibility required to pass legal
 13    muster. Perhaps most importantly, both claims are barred by the First Amendment,
 14    under which the Film is protected speech, which cannot be chilled by Plaintiffs’
 15    contrived and meritless trademark claims.
 16    II.   STATEMENT OF FACTS
 17          A.     The Panama Papers Scandal
 18          In April 2016, newspapers and media outlets around the world began publishing
 19    reports regarding the methods used by wealthy and powerful people to hide income
 20    and avoid taxes through the use of offshore bank accounts and shell companies.
 21    (Second Amended Complaint (“SAC”) ¶¶ 54-57). The primary source for these
 22    bombshell reports was a cache of 11.5 million Mossack & Fonseca Firm documents
 23    an anonymous whistleblower had provided to journalist Bastian Obermayer of the
 24    German newspaper Suddeutsche Zeitung. (Id. ¶ 49). Obermayer enlisted the
 25    International Consortium of Investigative Journalists to review the massive corpus of
 26    documents for approximately one year before publishing any reports regarding their
 27    contents. (Id. ¶¶ 51-52). These documents, dubbed the Panama Papers, referenced
 28    over 200,000 offshore entities created by the Mossack & Fonseca Firm, including


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   1   many used for the benefit of rich and famous people in both public and private sectors
   2   around the world. (Id. ¶ 50). As the SAC acknowledges, some number of offshore
   3   corporations created by Mossack and Fonseca, or their firm, were in fact utilized “for
   4   criminal activity including, but not limited to, money laundering, tax evasion, bribery
   5   and/or fraud.” (Id. ¶ 53).
   6          The reporting on the Panama Papers and the Mossack & Fonseca Firm’s role in
   7   facilitating tax avoidance and offshore banking for the wealthy precipitated numerous
   8   governmental investigations and prosecutions, including two legal proceedings
   9   brought by Panamanian authorities against Mossack and Fonseca. (Id. ¶ 62). As a
  10   result of the ongoing criminal investigations and prosecutions, Mossack and Fonseca
  11   have been subject to arrest and bail conditions that confine them to Panama. (Id. ¶ 63).
  12   In the immediate aftermath of the reporting on the Panama Papers (i.e., well before the
  13   production or release of the Film), banks refused to do business with Plaintiffs, clients
  14   ceased to do business with Plaintiffs, and Plaintiffs’ law firm closed. (Id. ¶¶ 59-61).
  15          In or about November 2017, journalist Jake Bernstein released a “thoroughly
  16   researched” book regarding the previously unknown financial dealings of wealthy
  17   individuals and institutions that made use of the offshore banking and financial
  18   systems, entitled Secrecy World: Inside the Panama Papers Investigation of Illicit
  19   Money Networks and the Global Elite (the “Book”).3 (Id. ¶¶ 67-78). Bernstein used
  20   the Panama Papers documents provided by the whistleblower, as well as interviews
  21   with Mossack and Fonseca, as source material for the Book. (Id.).
  22          B.     The Laundromat
  23          Sometime following the publication of the Book, Netflix acquired the right to
  24   distribute a film about the Panama Papers that used the Book as inspiration. (Id. ¶¶ 80-
  25   81. The Film, entitled The Laundromat, is the resulting feature film. (Id. ¶ 81). The
  26   Film stars the actors Meryl Streep, Gary Oldman, and Antonio Banderas and was
  27   3
        The Book was submitted as Exhibit B to the Answer of Defendant Netflix, Inc. to Plaintiffs’ Second
  28   Amended Complaint [Docket No. 53]. A copy of the Book is also attached to the Notice of Lodging
       of Physical Exhibits filed concurrently herewith.

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   1   directed by Steven Soderbergh. (Id. ¶¶ 86, 88). The Film does not purport to be a
   2   factual documentary or non-fiction adaptation of the Book. To the contrary, the Film
   3   makes clear from the outset that it is not a pure dramatic presentation of actual facts,
   4   but rather a comedic morality tale about a system which invites and protects abuse.
   5   Indeed, the Film opens with a title card facetiously stating that the Film is “Based On
   6   Actual Secrets” and ends with a disclaimer at the 1 hour, 34 minute, 25 second mark
   7   stating, “While the motion picture is inspired by actual events and persons, certain
   8   characters, incidents, locations, dialogue, and names are fictionalized for the purpose
   9   of dramatization. As to any such fictionalization, any similarity to the name or to the
  10   actual character or history of any person, living or dead, or actual incident is entirely
  11   for dramatic purposes and not intended to reflect on any actual character or history.”
  12          Moreover, while the Film has characters bearing Mossack and Fonseca’s
  13   names, they are caricatured narrators who break the fourth wall to explain the offshore
  14   industry to the audience and introduce the Film’s vignettes. The Film does not depict
  15   these characters as direct participants in criminal activity. Rather, the Film saves its
  16   pointed critiques for the opacity of the global banking system and the systemic
  17   corruption of wealthy individuals that permit that system to perpetuate itself.4
  18          These palpably farcical characters open the Film, dressed in tuxedoes and
  19   walking past cavemen on a barren landscape, with an explanation about the genesis of
  20   money and credit with comedic dialogue about the impracticality of bartering bananas
  21   (which “turn brown over time”) and cows (which “can wander away”). “Credit,” they
  22   explain, stands in for the “tangible” cow, and because of credit, “even if you didn’t
  23   have all the bananas you need … you could borrow bananas from the future.” Noting
  24   that the world of finance has since “gotten a little more complicated” and involves
  25   trading things that are “very different from cows,” they then introduce the vignettes
  26
  27   4
         Rather than portraying these characters as involved in criminal activity, the Film repeatedly makes
  28   the point that they followed the letter of the law. At one point, there is even a clip of President Obama
       noting that most of the use of offshore shell companies is legal.

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   1   that follow as stories “that are not about us; they are more about you.” These narrators
   2   are reminders of the Film’s satirical nature throughout.
   3          The Film depicts the April 2016 hacking of the Panama Papers by “John Doe,”
   4   and their subsequent worldwide publication. Plaintiffs’ tax shelter and shell
   5   corporation mill is exposed. President Obama is seen saying that the problem is that a
   6   lot of this is legal. The narrators (i.e., the Mossack and Fonseca characters) explain
   7   that they “didn’t write the laws; [they] just wrote contracts!” They are ruined by the
   8   ensuing scandal, close their businesses, and are arrested because some of the shell
   9   entities they formed have been connected to suspected criminals. Sitting in jail (or
  10   what is revealed to be dramatic/comedic jail scenery), Mossack complains: “You want
  11   to go back to bananas?!” The Film ends with words from the so-called “manifesto” of
  12   the Panama Papers leaker, calling on governments around the world to end the
  13   pervasive corruption depicted in the Film.
  14          C.      Plaintiffs’ Allegations
  15          Plaintiffs’ allegations relevant to the instant motion5 include that the Film’s
  16   depictions of the MOSSACK FONSECA trademark and logo (collectively, the
  17   “MFSA Logo”) caused dilution by tarnishment by “diminish[ing] the present and
  18   future value of the logo in commerce” (SAC ¶ 176) – notwithstanding the fact that the
  19   SAC is replete with allegations of the harm caused to Plaintiffs’ reputation, including
  20   the goodwill of their business, by the Panama Papers, long before the Film was ever
  21   conceived, let alone released. (Id. ¶¶ 57-63.) Plaintiffs further allege dilution by
  22   blurring, premised only on the conclusory allegation that the depiction of Plaintiffs’
  23   logo in the Film “is likely to impair [the trademark’s] distinctiveness by causing
  24   consumers to no longer associate the logo solely and exclusively with MFSA.” (Id. ¶
  25   177.) As discussed below, however, nowhere in the SAC do Plaintiffs allege that
  26   MFSA’s logo has attained the level of fame necessary to qualify for protection from
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       5
  28    Plaintiffs’ state law claims in the first through third counts of the SAC are addressed Defendant’s
       anti-SLAPP motion, filed concurrently with the instant motion for judgment on the pleadings.

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   1   trademark dilution (by either tarnishment or blurring) under the controlling federal
   2   law, the Trademark Dilution and Revision Act (“TDRA”). Notably, Plaintiffs also
   3   acknowledge that “Netflix used and continues to use the logo for the sake of making
   4   its movie scenes true to reality. . .” (id. ¶ 179), which amounts to an admission under
   5   the controlling case law that the MFSA Logo is artistically relevant to the Film, as
   6   discussed in greater detail below.
   7          Plaintiffs’ fifth count is styled as false advertising, but is premised on alleged
   8   false endorsement. Plaintiffs claim Netflix “misrepresented the nature, characteristics,
   9   and qualities” of its Film because it misrepresented that the use of the MFSA Logo
  10   was “permissible use, authorized, licensed, assigned, sponsored and/or otherwise
  11   endorsed by MFSA, when in fact the same is patently false.” (SAC ¶¶ 184-85.)
  12          As detailed below, Plaintiffs’ trademark claims fail for a number of reasons.
  13   Their dilution claim fails because (i) they failed to plead the requisite fame of their
  14   mark, (ii) Netflix’s depiction of the MFSA Logo is not a trademark use, as it must be
  15   to be actionable under the TDRA, (iii) by Plaintiffs’ own admission, their Logo,
  16   brand, goodwill and reputation were destroyed in the wake of the Panama Papers’
  17   release far before the release of the Film, and (iv) Netflix’s use of the MFSA Logo
  18   falls within the noncommercial use exception under the TDRA. Further, Plaintiffs’
  19   Lanham Act false advertising claim is barred by the First Amendment under the
  20   controlling Rogers test.
  21   III.   ARGUMENT
  22          A.    Legal Standard
  23          The standard for evaluating a 12(c) motion is the same as that governing a
  24   motion to dismiss. See Durkin v. Shields, No. 92-1003-IEG (LSP), 1997 WL 808651,
  25   at *8 (S.D. Cal. 1997) (citing Hishon v. King & Spalding, 467 U.S. 69, 73 (1984)).
  26   That is, “[a] judgment on the pleadings is properly granted when, taking all the
  27   allegations in the pleadings as true, the moving party is entitled to judgment as a
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   1   matter of law.” Milne ex rel. Coyne v. Stephen Slesinger, Inc., 430 F.3d 1036, 1042
   2   (9th Cir. 2005) (citation & quotations omitted).
   3         The standard articulated in Twombly and Iqbal applies equally to a motion for
   4   judgment on the pleadings. Chavez v. United States, 683 F.3d 1102, 1108-09 (9th Cir.
   5   2012); Cafasso v. General Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054-55 & n. 4
   6   (9th Cir. 2011) see also Lowden v. T-Mobile USA, Inc., 378 F. App’x 693, 694 (9th
   7   Cir. 2010) (“To survive a Federal Rule of Civil Procedure 12(c) motion, a plaintiff
   8   must allege enough facts to state a claim to relief that is plausible on its face.”)
   9   (citation & quotations omitted)). “[A] plaintiff’s obligations to provide the grounds of
  10   entitlement to relief requires more than labels and conclusions, and a formulaic
  11   recitation of the elements of a cause of action will not do.” Id. (quoting Bell Atlantic
  12   Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “Rather, the allegations in the
  13   complaint ‘must be enough to raise a right to relief above the speculative level.’” Id.
  14   (quoting Twombly, 550 U.S. at 555).
  15         B.     Plaintiffs’ Dilution Claim Fails As A Matter Of Law
  16         To prove dilution under the TDRA, 15 U.S.C. § 1125(c), a plaintiff must show
  17   that “(1) the mark is famous and distinctive; (2) the defendant is making use of the
  18   mark in commerce; (3) the defendant’s use began after the mark became famous; and
  19   (4) the defendant’s use of the mark is likely to cause dilution by blurring or dilution
  20   by tarnishment.” Aegis Software, Inc. v. 22nd Dist. Agric. Ass’n, 255 F. Supp. 3d
  21   1005, 1009 (S.D. Cal. 2017) (citation & quotations omitted). Here, Plaintiffs’ claim
  22   for dilution, by blurring and by tarnishment, fails for four independent reasons,
  23   detailed below.
  24                1.     As A Matter Of Law, Plaintiffs’ Mark Is Not “Famous” For
  25                       Dilution Purposes
  26         First, Plaintiffs have failed to plead that the MFSA logo is a famous mark under
  27   the exacting standard of the TDRA, which requirement applies equally to a claim for
  28   dilution by blurring or by tarnishment. See id. (granting motion to dismiss dilution


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   1   claim because the plaintiff’s complaint “falls short of pleading fame”). In order to be
   2   “famous,” a mark must be “widely recognized by the general consuming public of the
   3   United States…” as a designation indicating a single source of goods or services. 15
   4   U.S.C. § 1125(c)(2)(A) (emphasis added). This is a “difficult and demanding”
   5   standard, Arcsoft, Inc. v. Cyberlink Corp., 153 F. Supp. 3d 1057, 1065 (N.D. Cal.
   6   2015) (citation omitted), and one to which Plaintiffs’ SAC unquestionably does not
   7   rise. See, e.g., Coach Servs., Inc. v. Triumph Learning LLC, 668 F.3d 1356 (Fed. Cir.
   8   2012) (evidence did not prove COACH was a “famous” mark for dilution purposes).
   9   A number of courts, including those in the Ninth Circuit, have said that to qualify as
  10   “famous” for purposes of dilution, the mark must be a “household name” – “a name
  11   immediately familiar to very nearly everyone, everywhere in the nation.” 4 McCarthy
  12   on Trademarks and Unfair Competition, § 24:104 (5th ed.); Aegis Software, Inc., 255
  13   F. Supp. 3d at 1009 (“The famousness prong of the claim is meant to carefully limit
  14   the class of trademarks eligible for dilution protection . . . [T]he mark must be a
  15   household name.”) (citation & quotations omitted); Arcsoft, Inc., 153 F. Supp. 3d at
  16   1065 (“[T]he Ninth Circuit has concluded that trademark dilution is a cause of action
  17   reserved for a select class of marks – those marks with such powerful consumer
  18   associations that even noncompeting uses can impinge on their value. . . Dilution
  19   protection extends only to those whose mark is a household name.”) (internal
  20   quotation marks and citations omitted). Thus, niche fame in a particular industry or
  21   consumer group is insufficient. Urban Home, Inc. v. Cordillera Inv. Co., No. 13-
  22   08502, 2014 WL 3704031, at *6 (C.D. Cal. June 19, 2014) (noting that “[t]he
  23   trademark dilution statute was revised in 2006 to deny protection to marks whose
  24   fame extends only to niche markets…”).
  25         In order to determine whether a mark has attained the requisite level of fame,
  26   courts evaluate four factors: (i) the duration, extent and geographic reach of the
  27   advertising and publicity of the mark; (ii) the amount, volume, and geographic extent
  28   of sales of goods or services offered under the mark; (iii) the extent of actual


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   1   recognition of the mark; and (iv) whether the mark has been federally registered. 15
   2   U.S.C. § 1125(c)(2)(A).
   3         Here, Plaintiffs make only the unsupported, conclusory assertion that the MFSA
   4   logo was famous at the time Netflix allegedly infringed it, providing no factual
   5   allegations concerning any of the relevant four factors to support that claim. (SAC ¶¶
   6   6, 35, 124, 171.) At their most detailed, Plaintiffs allege they are “a well-known
   7   worldwide leader in the perfectly legal offshore corporate formation and maintenance
   8   industry” (SAC ¶ 32), and that they have generated “significant profits” (id. ¶¶ 33, 48)
   9   and “expended significant monies on client development, branding, and marketing . .
  10   .” (id. ¶ 34). However, they provide no figures to support these conclusory claims.
  11   Naked assertions of fame are patently insufficient to withstand a motion for judgment
  12   on the pleadings. See, e.g., Arcsoft, Inc., 153 F. Supp. 3d at 1067 (granting motion to
  13   dismiss dilution claim where plaintiff “[did] not offer any nonconclusory allegations
  14   about the extent to which consumers actually recognize the Perfect365 Mark”).
  15         At best, Plaintiffs have alleged only niche fame, claiming that their “logos were
  16   widely recognized by consumers in Plaintiffs’ industry and became famous well prior
  17   to Netflix’s unlawful use of the logo.” (SAC ¶ 171 (emphasis added); see id. ¶¶ 39-41
  18   (alleging Plaintiffs’ promotion of their brand in the legal industry.)) Thus, by
  19   Plaintiffs’ own admission, their mark and logo are not sufficiently famous to merit
  20   protection under Section 43(c) of the Lanham Act.
  21                2.     Netflix Is Not Using The MFSA Logo As A Trademark
  22         Second, Netflix is not using the MFSA logo as a trademark, as is required under
  23   the TDRA. The TDRA makes clear that “a non-trademark use does not and cannot
  24   dilute by blurring. The same rule applies to dilution by tarnishment.” 4 McCarthy on
  25   Trademarks and Unfair Competition § 24:122 (5th ed.); see 15 U.S.C. § 1125(c)(1),
  26   1125(c)(2)(B) & (C). Here, taking all of Plaintiffs’ allegations as true, Netflix’s
  27   depiction of the MFSA trademark in the Film is not trademark use. (See SAC ¶ 7
  28   (“The logo is used approximately 8 times between the trailer and the movie proper,


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   1   exposed on the side of a building, on a client folder, twice behind a transparent door in
   2   an office, on a background re-broadcast of a CNN news segment, and three times in
   3   scene backgrounds projected on large screen televisions, including one instance
   4   lasting approximately 30 seconds.”).) The MFSA logo is not used as a designation of
   5   source of the Film in any way, to identify either the author of the screenplay or the
   6   producer of the Film. As Professor McCarthy states in his seminal treatise on
   7   trademark law, “a novelist who uses a famous mark in the body of a story is not
   8   subject to the antidilution law because the accused use is not as a mark or trade name
   9   to identify the author or publisher. This also includes the use of marks in the content
  10   of motion pictures and television shows.” 4 McCarthy on Trademarks and Unfair
  11   Competition, § 24:122 (emphasis added). Accordingly, Netflix is not subject to the
  12   antidilution law based on its display of the MFSA logo in the Film, and Plaintiffs’
  13   dilution claim should be dismissed.
  14                 3.     Plaintiffs’ Dilution By Tarnishment Claim Fails Because Their
  15                        Mark Is Already Tarnished
  16          Third, beyond its lack of fame, Plaintiffs’ Logo and the goodwill that it
  17   represents have already been so thoroughly tarnished that its portrayal in the Film – in
  18   connection with the same subject matter that has already made headlines throughout
  19   the United States – cannot possibly sustain a claim for tarnishment. For instance, as
  20   the SAC acknowledges, “[i]mmediately after initial news reports of hack revelations,
  21   and the rumors concerning [Plaintiffs’] alleged clients, banks and other third parties
  22   refused to do business with [Plaintiffs’ firms].” (Id., ¶ 59.) As a consequence of the
  23   “severe[] damage[]” caused to Plaintiffs’ firms’ reputation (id., ¶ 58), it ultimately was
  24   forced to close its offices and lost its entire client base. (Id., ¶ 61.) As Plaintiffs admit,
  25   they have already “suffered damage to the goodwill and value their business” as a
  26   result of the “hack and release” of the Panama Papers. (Id., ¶ 64.)
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   1                4.     The Film Falls Within The Noncommercial Use Exception To
   2                       The Dilution Statute
   3         Finally, as the Film is an artistic work, its use of Plaintiff’s logo falls within the
   4   “noncommercial use” liability exemption to dilution protection under Section 43(c) of
   5   the Lanham Act, 15 U.S.C. § 1125(c)(3)(C), because it “does more than propose a
   6   commercial transaction” and contains some “protected expression.” VIP Prods. LLC
   7   v. Jack Daniel’s Props., Inc., 953 F.3d 1170, 1176 (9th Cir. 2020) (citation &
   8   quotations omitted). As the Ninth Circuit has held, use of a mark may be
   9   “noncommercial” even when it is contained in a product that is sold. Id.
  10         Here, there is no question the portrayal of the MFSA logo in the Film qualifies
  11   as noncommercial speech protected by the First Amendment. It is an artistic work that
  12   does far more than “propose a commercial transaction,” and unquestionably contains
  13   “protected expression,” namely, a particularized message, which is likely to be
  14   understood by those who viewed it. See Gordon v. Drape Creative, Inc., 909 F.3d
  15   257, 268 (9th Cir. 2018). Indeed, the Film presents a farcical view of the conduct,
  16   including that of Plaintiffs, exposed in the “Panama Papers,” and is intended to
  17   provide a critical commentary on the use of offshore companies to provide tax shelters
  18   for the wealthy. See VIP Prod. LLC, 953 F.3d at 1176 (holding the defendant was
  19   entitled to judgment in its favor on dilution claim where defendant’s product conveyed
  20   a humorous message that was a commentary on the plaintiff’s brand); Smith v. Wal-
  21   Mart Stores, Inc., 537 F. Supp. 2d 1302 (N.D. Ga. 2008) (quoting Mattel v. Walking
  22   Mountain Prods, 353 F.3d 792, 812 (9th Cir. 2003) (“[T]arnishment merely caused by
  23   an . . . artistic parody which satirizes [the complainant’s] . . . image is not actionable
  24   under an anti-dilution statute because of the free speech protections of the First
  25   Amendment.”) (quotations omitted)). Thus, the First Amendment principles codified
  26   in the noncommercial use exception under the TDRA likewise bar Plaintiffs’ dilution
  27   claim against the Film.
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   1          C.      Plaintiffs’ False Advertising Claim Fails Under The Rogers Rule
   2          Just as the First Amendment bars Plaintiffs’ dilution claim, it likewise bars their
   3   Lanham Act false advertising claim. As noted above, artistic expression, such as
   4   Defendant’s film, is constitutionally protected speech. The application of the First
   5   Amendment’s protections to motion pictures and other works of entertainment has
   6   been established since the Supreme Court’s decision in Joseph Burstyn, Inc. v. Wilson,
   7   343 U.S. 495 (1952), in which the Court recognized that “[t]he importance of motion
   8   pictures as an organ of public opinion is not lessened by the fact that they are designed
   9   to entertain as well as to inform.” Id. at 501; see also Schad v. Borough of Mt.
  10   Ephraim, 452 U.S. 61, 65 (1981) (“Entertainment, as well as political and ideological
  11   speech, is protected; motion pictures, programs broadcast by radio and television, and
  12   live entertainment, such as musical and dramatic works, fall within the First
  13   Amendment guarantee.”) (citations omitted).6
  14          The conflict between Lanham Act claims and First Amendment protection for
  15   artistic works was addressed in the seminal case of Rogers v. Grimaldi, 695 F. Supp.
  16   112 (S.D.N.Y. 1988), aff’d, 875 F.2d 994 (2d Cir. 1989), which held that the First
  17   Amendment precludes Lanham Act claims premised upon the title of an expressive
  18   work unless the title “has no artistic relevance to the underlying work whatsoever, or,
  19   if it has some artistic relevance, unless [it] explicitly misleads as to the source or the
  20   content of the work.” Id. at 999 (emphasis added). The Rogers test has been widely
  21   adopted, including by the Ninth Circuit, and extended to use of both names and
  22   trademarks in the content of expressive works, as well as their titles, leading to such
  23   claims regularly being dismissed as a matter of law. See, e.g., VIP Prods. LLC, 953
  24   F.3d at 1174 (use of trade dress in dog toy); Gordon, 909 F.3d at 264 (use of
  25   trademark in greeting card); E.S.S. Entm’t 2000, Inc. v. Rock Star Videos, Inc., 547
  26   6
        To the extent that Plaintiffs’ false advertising claim is predicated on advertisements for the Film, as
       opposed to the Film itself, it is settled law that “advertisements that are ‘adjunct’ to a protected work
  27   are entitled to the same immunity from [Lanham Act claims] as the underlying work.” Dickinson v.
  28   Ryan Seacrest Enters., Inc., No. CV 18-2544-GW (JPRX), 2019 WL 3035090, at *8 (C.D. Cal. Mar.
       26, 2019).

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   1   F.3d 1095, 1099 (9th Cir. 2008) (use of trade dress in video game); Mattel, Inc. v.
   2   MCA Records, 296 F.3d 894, 902 (9th Cir. 2002) (use of trademark in title and content
   3   of song); see also ETW Corp. v. Jireh Publ’g, Inc., 332 F.3d 915, 928 (6th Cir. 2003)
   4   (use of name and trademark in marketing materials for prints of painting); Louis
   5   Vuitton Mallatier S.A. v. Warner Bros. Entm’t Inc., 868 F. Supp. 2d 172, 177 n.9
   6   (S.D.N.Y. 2012) (use of trademark in context of film).
   7         The Rogers test has been applied to bar claims of trademark infringement, false
   8   endorsement, and false advertising made against expressive works. See Brown v. Elec.
   9   Arts, Inc., 724 F.3d 1235, 1241 (9th Cir. 2013) (applying Rogers test to false
  10   endorsement claim); Rogers, 875 F.2d 944 (involving false advertising claim arising
  11   under the Lanham Act). Thus, the Rogers test is applicable to Plaintiffs’ false
  12   advertising claim in the instant action. Here, Plaintiffs are unable to satisfy either
  13   prong of the Rogers test, requiring dismissal of their false advertising claim.
  14                1.     The Use Of Plaintiffs’ Logo Is Artistically Relevant To The
  15                       Film
  16         Regarding the first prong of the Rogers test, courts have found that the
  17   threshold for finding that the trademark at issue has artistic relevance to the
  18   underlying work is “appropriately low.” Rogers, 875 F.2d at 999; see Louis Vuitton,
  19   868 F. Supp. 2d at 178 (“The threshold for artistic relevance is purposely low and will
  20   be satisfied unless the use has no artistic relevance to the underlying work
  21   whatsoever”) (citations & quotations omitted) (emphasis in the original); E.S.S.
  22   Entm’t 2000, Inc., 547 F.3d at 1100 (finding that “the level of relevance merely must
  23   be above zero” to “merit First Amendment protection”).
  24         Here, Defendant more than meets that “appropriately low” threshold. The Film
  25   employs the names of Plaintiffs, along with the names of their law firms, and the logo
  26   of MOSSACK FONSECA, all in the course of telling the fictionalized story of how
  27   these two lawyers found and exploited loopholes to help wealthy and powerful
  28   individuals and companies avoid taxation and other liabilities, largely through the


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   1   creation of offshore shell companies. Because these men and their companies,
   2   identified by the MOSSACK FONSECA logo, all feature in the real life events on
   3   which the Film is based, their use is artistically relevant to the work. See E.S.S. Entm’t
   4   2000, Inc., 547 F.3d at 1095, 1098, 1100 (finding that video game creator’s use of
   5   “Pig Pen,” a virtual, cartoon-style strip club similar in look at feel to trademark
   6   owner’s Los Angeles strip club, was protected by the First Amendment from
   7   trademark and trade dress infringement claims; the court found artistic relevance
   8   because the creator sought to create a “cartoon-style parody of East Los Angeles,” and
   9   “a reasonable way, to do that is to recreate a critical mass of the businesses and
  10   buildings that constitute it”); Dillinger, LLC v. Electronic Arts, Inc., No. 1:09-cv-
  11   1236-JMS-DKL, 2011 WL 2457678, at *5 (S.D. Ind. June 16, 2011) (finding the
  12   name “Dillinger” in reference to a Tommy Gun was artistically relevant to the
  13   defendants’ The Godfather video game because “the gentleman-bandit, commonly
  14   known for his public persona as a flashy gangster who dressed well, womanized,
  15   drove around in fast cars, and sprayed Tommy Guns, has above-zero relevance to a
  16   game whose premise enables players to act like members of the mafia and spray
  17   Tommy Guns.”) (citation & quotations omitted). Indeed, Plaintiffs themselves
  18   acknowledge that “Netflix used and continues to use the logo for the sake of making
  19   its movie scenes true to reality…” (SAC ¶ 179.) Thus, Plaintiffs effectively concede
  20   that the use of Plaintiffs’ logo is artistically relevant to the Film.
  21                 2.     The Film Does Not Explicitly Mislead As To Its Source Or
  22                        Content
  23          The SAC also fails to satisfy the second prong of the Rogers test, namely, the
  24   Film does not explicitly mislead as to its source. It is well-settled that the mere use of
  25   Plaintiffs’ trademark is not sufficient to satisfy this prong of the Rogers test. “After
  26   all, a trademark infringement claim presupposes a use of the mark. If that necessary
  27   element in every trademark case vitiated a First Amendment defense, the First
  28   Amendment would provide no defense at all.” E.S.S. Entm’t 2000, Inc., 547 F. 3d at


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   1   1099. Instead, the defendant must “explicitly mislead consumers” as to the source or
   2   content of the work. Brown, 724 F.3d at 1245 (emphasis in the original).
   3         Here, the SAC is devoid of any allegation that the Film or its advertising, make
   4   any claims about Plaintiffs’ endorsement of or approval of the Film, or any role they
   5   played in creating it. Indeed, neither the Film, nor any related promotion, makes any
   6   such claim. Thus, the Film does not explicitly mislead as to the source or content of
   7   the work.
   8         In fact, the Film does precisely the opposite. It repeatedly makes clear that it is
   9   a fictionalization, including by incorporating disclaimers that it is “based on actual
  10   secrets. This disclaimer expressly counsels consumers against viewing the Film’s
  11   content as factual and make it unlikely that consumers would interpret a trademark
  12   portrayed in the fictional work as a “source-denoter.” Medina v. Dash Films, Inc., No.
  13   15-CV-2551 (KBF), 2016 WL 3906714, at *5 (S.D.N.Y. July 14, 2016). Indeed, even
  14   apart from the Film’s disclaimers, consumers do not expect the trademark of a
  15   character or entity portrayed in a fictional work to denote that fictional work’s author
  16   or creator. See, e.g., 4 McCarthy on Trademarks and Unfair Competition, § 24:122
  17   (noting that use of a mark as an element in a film is not trademark use, as it does not
  18   designate the film’s source).
  19         Moreover, here, the context of Netflix’s use of Plaintiffs’ logo makes it highly
  20   unlikely that consumers would assume Plaintiffs to be the source of the Film. As
  21   stated in the SAC, Plaintiffs use their logo in connection with their Panamanian
  22   corporate law firm and their work as attorneys. (See SAC ¶¶ 33, 37.) No reasonable
  23   consumer would assume that Plaintiffs’ Panamanian law firm branched out into the
  24   production of an American film, let alone one that is critical of their own work. See
  25   E.S.S. Entm’t, 547 F.3d at 1100-01 (“A reasonable consumer would not think a
  26   company that owns one strip club in East Los Angeles, which is not well known to the
  27   public at large, also produces a technologically sophisticated video game like San
  28   Andreas.”).


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   1          As the Medina court noted, “[t]his is particularly true where defendants
   2   employed their own source designations elsewhere on the product,” as is the case
   3   here. Id. The Film is accessible only on the Netflix platform, bears the Netflix red “N”
   4   logo on the front of the Film, and the opening credit page reads, “NETFLIX
   5   PRESENTS…,”7 leaving little doubt as to the source of the Film. See Dickinson v.
   6   Ryan Seacrest Enters., Inc., No. CV 18-2544-GW (JPRX), 2018 WL 6112628, at *6
   7   (C.D. Cal. Oct. 1, 2018) (“Near the beginning of the Episode, the cast members,
   8   producers, and companies behind the Episode are listed, with Dickinson failing to
   9   appear on that list.”); Stewart Surfboards, Inc. v. Disney Book Grp., LLC, No. CV 10-
  10   2982 GAF (SSX), 2011 WL 12877019, at *7 (C.D Cal. May 11, 2011) (dismissing
  11   trademark claims for, inter alia, failure to meet Rogers test’s second prong, and
  12   holding that allegedly infringing book, though containing plaintiff’s trademark on the
  13   back cover, “does not say anything like ‘Brought to You by Stewart Surfboards’ or
  14   ‘Presented by Stewart Surfboards’…[and] [t]o the contrary, the book jacket and spine
  15   include [various Disney logos]…”).
  16          Further, given the satirical and critical nature of in the Film, it is inconceivable
  17   that viewers would assume Plaintiffs endorsed or approved of the Film. Indeed,
  18   Plaintiffs’ dilution by tarnishment claim alleges that the Film has damaged their brand
  19   through its negative portrayal in the Film. They cannot have it both ways, claiming
  20   both that the Film tarnishes their reputation and that consumers will assume they have
  21   sponsored or endorsed the Film. See Dickinson, 2018 WL 6112628, at *6 (finding
  22   nothing suggested that the plaintiff, who was portrayed as the “nemesis” in the subject
  23   episode of a reality television show, “somehow endorsed or backed the Episode”). In
  24   sum, the SAC is devoid of any allegation from which this Court might plausibly
  25   conclude that the Film explicitly misleads as to the source or content of the work.
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         These elements of the Film’s source designation are all apparent from the face of the Film itself,
  27   which is incorporated by reference in the SAC and therefore may be considered on Defendant’s
  28   instant motion for judgment on the pleadings. See Ryan v. Salisbury, 382 F. Supp. 3d 1031, 1051 (D.
       Haw. 2019).

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   1         Because the use of Plaintiffs’ Logo is artistically relevant to the Film and the
   2   Film does not explicitly mislead consumers as to the source or content of the work,
   3   Plaintiffs’ Lanham Act false advertising claim is barred by the First Amendment
   4   under the Rogers test and thus fails as a matter of law.
   5   IV.   CONCLUSION
   6         For the foregoing reasons, Plaintiffs’ dilution and false advertising claims
   7   against Netflix’s Film fail as a matter of law. Thus, Netflix respectfully requests that
   8   its Rule 12(c) motion be granted in its entirety and that the fourth and fifth counts of
   9   the SAC be dismissed with prejudice.
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                                              PRYOR CASHMAN LLP
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